Michael J. McCrystal, Esquire
326 Main Street
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STE 1
Emmaus, PA 18049
2
(610) 262-7873
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Attorneys for Respondents
4                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
5                           READING DIVISION
6
7         Michael Ulecka and          18-16931
          Andrea Ulecka
8                                     RESPONSE TO
                                      CERTIFICATION OF
9                     Debtors         DEFAULT
10        Midland Mortgage
                     Movant
11
          Vs.
12
          Michael Ulecka and
13        Andrea Ulecka
                     Respondents
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     Michael J. McCrystal, Esquire, attorney for the Respondent Michael
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and Andrea Ulecka responds to the Certification of Default and avers:
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1.   Denied, this averment is strictly denied and it is averred that
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debtors were at all relevant times current.
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326 Main Street                                  Certification of Default
STE 1
28
Emmaus, PA 18049
 (610) 262-7873
     WHEREFORE, Debtors pray this Honorable Court to deny the Certificate
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of Default and for such and other relief as is just and equitable.
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                                       Respectfully submitted,
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6
                                      /s/Michael J. McCrystal
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                                       ________________________________
8                                     Michael J. McCrystal, Esquire
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